                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                  3:19-cv-280-RJC
                              (3:14-cr-254-RJC-DSC-1)

CARLTON CALVIN WILSON,                )
                                      )
            Petitioner,               )
                                      )
vs.                                   )                     ORDER
                                      )
UNITED STATES OF AMERICA,             )
                                      )
            Respondent.               )
_____________________________________ )

       THIS MATTER is before the Court on pro se Petitioner’s Motion to Vacate, Set Aside or

Correct Sentence under 28 U.S.C. § 2255, (Doc. No. 1), Petitioner’s Motion to Amend, (Doc. No.

3), Petitioner’s Motion for Leave to File, (Doc. No. 4), the Government’s Motion to File a

Corrected Response, (Doc. No. 6), and Petitioner’s Motion to File a Corrected Reply, (Doc. No.

9).

       I. BACKGROUND

       Petitioner was indicted for six counts of knowingly and unlawfully possessing a firearm

after having been previously convicted of three or more violent felonies in violation of 18 U.S.C.

§§ 922(g)(1). (3:14-cr-254, Doc. No. 15). Petitioner pled guilty to three of the § 922(g) counts in

exchange for the Government’s dismissal of the remaining three counts. He signed a written Plea

Agreement in which he admitted to being guilty as charged of Counts Two, Four, and Five and

acknowledged: his minimum and maximum sentencing exposure; that the sentence had not yet

been determined and an advisory guideline sentence would be calculated; that the sentence, up to

the statutory maximum, would be determined at the Court’s sole discretion; and that Petitioner


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would not be able to withdraw the plea as a result of the sentence imposed. (Id., Doc. No. 21 at 1-

2). The Plea Agreement specifically states that, if Petitioner is found to have three prior convictions

for a violent felony or felony drug offense, the minimum term of imprisonment is 15 years and the

maximum is life pursuant to 18 U.S.C. § 924(e)(1). (Id., Doc. No. 21 at 2). The parties agreed that

either party may seek a departure and variance and that the United States would inform the Court

and probation office of all facts pertinent to sentencing. (Id., Doc. No. 21 at 2). The Plea Agreement

sets forth the rights Petitioner was waiving by pleading guilty including the right to a jury trial

with the assistance of counsel, the right to confront and cross-examine witnesses, and the right not

to be compelled to incriminate himself. (Id., Doc. No. 21 at 4). Petitioner expressly agreed to waive

his appellate and post-conviction rights except for claims of ineffective assistance of counsel and

prosecutorial misconduct. (Id., Doc. No. 21 at 4-5).

       A Rule 11 hearing was held before the Magistrate Judge on March 31, 2015. (Id., Doc. No.

49). Petitioner agreed to proceed before the Magistrate Judge and stated under oath that his mind

was clear and that he understood he was there to enter a guilty plea that could not be later

withdrawn. (Id., Doc. No. 49 at 3-4). Petitioner stated that he and counsel had reviewed the

Indictment and Plea Agreement together. (Id., Doc. No. 49 at 4, 23). The Magistrate Judge read

aloud the charges and explained the elements of the offense and advised Petitioner of his potential

sentencing exposure. (Id., Doc. No. 49 at 4-6). Petitioner stated that he understood the charges

against him, including the maximum and minimum penalties and the elements of the offense. (Id.,

Doc. No. 49 at 7). Petitioner agreed that counsel had discussed the sentencing guidelines with him

and that he understood the Court could impose any sentence within the statutory limits that may

be lower or higher than the guidelines range. (Id., Doc. No. 49 at 8). The Court specifically

informed Petitioner that, if he was found to be an armed career criminal, his minimum sentence

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would be 15 years’ imprisonment and the maximum would be life and Petitioner stated he

understood. (Id., Doc. No. 49 at 6-7); see also (Doc. No. 49 at 12) (prosecutor stating at the Rule

11 hearing that it is likely that, based on Petitioner’s record, he qualifies as an armed career

criminal). He stated that he understood that the plea would be binding even if the sentence were

more severe than he expected. (Id.). Petitioner confirmed that by pleading guilty, he was waiving

the right to plead not guilty, the right to have a speedy trial before a jury with the assistance of

counsel, the right to summon witnesses to testify on his behalf, the right to confront witnesses

against him, and the right to receive the presumption of innocence. (Id., Doc. No. 49 at 9-10).

Petitioner agreed that he is, in fact, guilty of the counts to which he was pleading guilty and

committed the acts alleged in the Indictment. (Id., Doc. No. 49 at 10). Petitioner stated that his

plea was freely and voluntarily entered with a full understanding of what he was doing, that he

was not promised anything other than the promises contained in the plea agreement, and that he

was not threatened in any way to enter the plea against his wishes. (Id., Doc. No. 49 at 21-22).

Petitioner acknowledged that he knowingly and willingly waived accept the plea agreement’s

limitation on the right to appeal and file post-conviction proceedings. (Id., Doc. No. 49 at 16).

Petitioner confirmed that he had had ample time to discuss possible defenses with counsel and was

entirely satisfied with counsel’s services. (Id., Doc. No. 49 at 22).

       In support of Petitioner’s guilty plea, the parties submitted a written factual basis that sets

forth the following information with regards to Petitioner:

               1. On September 29, 2014, (Count One) after several phone calls with the
       cooperating defendant (“CD”), Wilson sold the CD a Taurus, model PT945, .45
       caliber pistol for $300. During the deal, Wilson removed the magazine from the
       pistol and wiped down the firearm with his shirt. Wilson then used some kind of
       cleaning product to further wipe down the gun and loaded a round that was
       chambered back into the magazine. Wilson then cleaned the magazine and told the
       CD not to touch the bullets because you never know when you have to do something

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and leave those things behind.

       2. On October 3, 2014. (Count 2) Wilson sold the CD a Beretta. 9um pistol
and a Taurus .38 Special revolver for $670. After the deal the CD and Wilson
discussed future firearm sales. The Taurus is stolen and was loaded with five rounds
of ammunition.

       3. On October 7, 2014, (Count Three) Wilson sold a Rossi revolver to the
CD for $270 ($250 for gun/$20 for Wilson). The revolver was loaded with five
rounds of ammunition. The CD advanced Wilson $550 for two guns they discussed.
Wilson then left the store.

        4. On October 7, 2014, (Count Four) Wilson sold three firearms to the CD
- a Glock model 22, .40 caliber pistol; a Taurus model R971, .157 caliber revolver;
and a Smith & Wesson, model 67, .38 caliber revolver. The Glock was fully loaded
with a 30 round magazine. The Taurus and the Smith & Wesson each had six
rounds. The Glock and Taurus were sold together for $925. The Smith & Wesson
was purchased for $300. The Smith & Wesson revolver was reported stolen from
Lincoln County on February 8, 1980, and the Taurus .357 caliber revolver was
reported stolen from Stanley, NC on July 28, 2014.

         5. On October 17, 2014. (Count Five) Wilson sold three firearms to the CD
– a Uberti, Aldo .44 caliber revolver, Ithaca. 37 Featherlight, 12 gauge shotgun, a
Beretta. model S686EL, 20 gauge shotgun, and a Gamo Air Rifle for $800. (The
air rifle is not considered a firearm.) The Uberti, Aldo revolver was stolen on
September 15, 2014 from Garland County, Arkansas. The Ithaca and Beretta were
stolen from Waxhaw, NC on October 16, 2014. On January 15, 2015, law
enforcement agents from the Bureau of Alcohol, Tobacco, Firearms and Explosives
(“ATF”) interviewed Brendan Cornelius Penn. Penn told the agents that on October
16, 2014. Wilson picked Penn up in a red truck. Wilson and Penn then met
McDonald in Hidden Valley. McDonald and another individual got into
McDonald’s vehicle – a dark colored Jeep Compass. At the time, Wilson was
wearing an ankle monitor so he would not take part in the break in, but Wilson did
show them a house in Waxhaw. Wilson asked Penn, McDonald, and the other
individual to wait an hour so that Wilson could get out of the area. Penn stated that
McDonald put on a construction vest and knocked on the door. When no one
answered the door, McDonald kicked it in. Penn stated that he, McDonald, and the
other individual stole a small safe/lockbox found in the home and a larger safe
found on the first floor. There was a very large safe that would not fit in
McDonald’s Jeep. McDonald called Wilson about this safe, and Penn, McDonald,
and the other individual agreed to meet with Wilson to pick up his red truck. Penn,
McDonald, and the other individual then returned to the house and loaded the
largest safe into the red truck. Later, the men opened the largest safe and found
several rifles, including the Remington and the Browning rifles that were sold by
McDonald and Penn to the CD the next day. Also located in the safe were an Ithaca

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       12 gauge shotgun and a Berretta 20 gauge shotgun that were sold to the CD by
       Wilson on October 17, 2014.

              6. On November 4, 2014. (Count Six) Wilson sold the CD a Taurus, model
       PT24/7 Pro C .40 caliber pistol loaded with 9 rounds of ammunition. There was a
       second magazine with l5 rounds of .40 caliber ammunition. The items were
       purchased for $500.

              7. Wilson has been convicted of a crime punishable by imprisonment for a
       term exceeding one year.

            8. All of the firearms possessed by Wilson traveled in or affected interstate
       commerce.

(Id., Doc. No. 22 at 1-2).

       The Presentence Investigation Report (“PSR”) scored the base offense level as 22

because Petitioner was responsible for possessing a loaded firearm and he was previously

convicted of a crime of violence (case number 08CRS249729), the offense involved a

semiautomatic firearm that is capable of accepting a large capacity magazine, and

Petitioner committed any part of the instant offense after one felony conviction of a crime

of violence or a controlled substance offense per U.S. Sentencing Guidelines § 2K2.1. (Id.,

Doc. No. 33 at ¶ 24). Four levels were added because Petitioner is responsible for selling

11 firearms pursuant to § 2K2.1(b)(1)(B). (Id., Doc. No. 33 at ¶ 25). Two more levels were

added because Petitioner is responsible for six stolen firearms. (Id., Doc. No. 33 at ¶ 26).

Four levels were added pursuant to § 2K2.1(b)(6)(B) because Petitioner used or possessed

any firearm or ammunition in connection with another felony offense or possessed or

transferred any firearm or ammunition with knowledge, intent, or reason to believe that it

would be used or possessed in connection with another felony offense. (Id., Doc. No. 33 at

¶ 27). There was no cross reference pursuant to § 2K2.1(c)(1)(A) because it would result

in lower adjusted offense level. (Id., Doc. No. 33 at ¶ 28). The adjusted offense level

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subtotal was 32. (Id., Doc. No. 33 at ¶ 32). However Petitioner is an armed career criminal

because he has at least three prior convictions for a violent felony or serious drug offense,

or both, committed on different occasions, i.e., North Carolina convictions for breaking

and entering in case numbers 07CRS201777, 07CRS208584, 08CRS53547, 08CRS53598,

and 08CRS253352, so the offense level is 34. (Id., Doc. No. 33 at ¶ 33). Three levels were

deducted for acceptance of responsibility resulting in a total offense level of 31. (Id., Doc.

No. 33 at ¶¶ 34-36). Petitioner had 24 criminal history points and a criminal history

category of VI, and armed career criminals also have a criminal history category of VI.

(Id., Doc. No. 33 at ¶¶ 60-62).

       Counsel filed Objections to the PSR including the four-level enhancement under §

2K2.1(b)(6)(B). (Id., Doc. No. 31). At the sentencing hearing, counsel preserved

Petitioner’s ACCA objection that his North Carolina burglary convictions should not be

considered violent felonies under Johnson v. United States, 135 S.Ct. 2551 (2015), even

though counsel explained to Petitioner that burglary is an enumerated offense and does not

run afoul of ACCA’s residual clause. (Id., Doc. No. 50 at 7). The Government moved for

a downward departure. See (Id.). The Court overruled Petitioner’s objections, granted the

Government’s motion, and sentenced Petitioner below the guidelines range to 156 months’

imprisonment for each count, concurrent, followed by three years of supervised release.

(Id., Doc. No. 39).

       Petitioner’s attorney filed an Anders1 brief on direct appeal, stating that there are

no meritorious issues for appeal but questioning whether the plea was voluntarily entered




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           Anders v. California, 386 U.S. 738 (1967).
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and whether the Court erred in designating Petitioner an armed career criminal. Petitioner

filed a pro se supplemental brief raising those issues and also challenging the

constitutionality of the Armed Career Criminal Act (“ACCA”). The Fourth Circuit

dismissed Petitioner’s appeal of his sentence due to his knowing and voluntary waiver and

affirmed as to the remainder of the Judgment. United States v. Wilson, 734 Fed. Appx. 182

(4th Cir. 2018).

        In the instant § 2255 Motion to Vacate, Petitioner argues that (renumbered): (1)

Petitioner does not qualify for ACCA sentencing and his sentence exceeds the statutory

maximum; and (2) counsel was ineffective for (A) failing to adequately represent Petitioner

with regards to sentencing, (B) misadvising Petitioner that he would be able to appeal

notwithstanding his plea waiver, and (C) failing to inform Petitioner that he could have

pled guilty without a plea agreement. With regards to procedural default, Petitioner

explains that counsel filed an Anders brief on direct appeal and Petitioner lacked access to

a law library because he was in segregation. (Doc. No. 1 at 9).

        In his Motion to Amend, Petitioner clarifies that his two breaking and entering

convictions in case numbers 07CRS01776 and 07CRS208584 are not violent felonies

because the court did not make any written findings about aggravating factors and therefore

Petitioner’s sentencing exposure was not for more than 12 months; the convictions in

08CRS53547 and 08CRS53598-1 are not violent felonies because they are for non-generic

burglary of a building or structure; and , Petitioner’s convictions were for possession of

stolen goods and not burglary. The conviction in case number 08CRS253352 was for

conspiracy to rob, not breaking and entering. He further argues that the enhancement under

§ 2K2.1(b)(6)(B) does not apply because the firearms were locked inside a safe and were

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not “present.” (Doc. No. 3 at 5). With regards to ineffective assistance of counsel, Petitioner

argues that counsel misadvised him to plead guilty to three counts because he could not be

sentenced under ACCA pursuant to Johnson, and for telling him his only options were to

plead guilty or go to trial and face the maximum sentence. Had Petitioner known that he

could “plead guilty in open court” like his co-defendant he would have done so. (Doc. No.

3 at 5-6). Counsel also misled Petitioner that he could “appeal and fight” if Petitioner

received an “adverse” or ACCA sentence, and that the record was going to preserve the

question of whether breaking and entering is an ACCA predicate. Counsel was also

ineffective for failing file an appeal for Petitioner after Petitioner asked him to do so, and

Petitioner later found out about this when he made an inquiry to the Court. If counsel had

made a specific objection to the ACCA enhancement based on a prior conviction under

North Carolina General Statutes § 14-54, Petitioner’s statutory maximum would have been

10 years’ imprisonment. Petitioner requests the appointment of counsel, noting that his

prison goes on lockdown on a regular basis which makes him unable to access the law

library and legal materials.

       In his supporting memorandum, Petitioner challenges his ACCA sentence and

additionally argues that he is actually innocent of the § 922(g) offenses because counsel

and the Court misadvised him that knowledge of his status as a felon is not an element of

the offense, that the Court failed to properly notify Petitioner of all the elements of the

crime, and the Court failed to ensure there was an adequate factual basis for the offense.

Petitioner claims that he told his lawyer that he did not know he was violating federal law.

       The Government argues in its Corrected Response, (Doc. No. 7), that Petitioner

previously challenged his ACCA sentence on direct appeal, he has not shown deficient

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performance and prejudice, the challenge to the conviction is procedurally barred, and all

of the claims are without merit.

       In his Reply, (Doc. No. 8), Petitioner argues that the Indictment alleged only that

Petitioner knowingly possessed a firearm and ammunition, not that he knew his status as a

felon. The Court advised him consistent with the Indictment during the Rule 11 hearing

and the Government did not proffer evidence that Petitioner knew he was a felon at the

time. Petitioner was sentenced under ACCA which raised his sentence from a 10-year

maximum to a 15-year minimum mandatory. Petitioner challenged the ACCA

enhancement at sentencing and on appeal but binding circuit precedent foreclosed his

arguments, however, the Supreme Court subsequently decided Rehaif v. United States, 139

S.Ct. 2191 (2019) which holds that there is a knowledge element in § 922(g)(1) and

924(a)(2). Reconsideration based on Rehaif is warranted. Petitioner reiterates his

sentencing calculation and ineffective assistance of counsel claims.

       In his Corrected Reply, (Doc. No. 9), Petitioner argues inter alia that Rehaif

invalidated his guilty plea and that procedural default does not bar relief because the Rehaif

error is a jurisdictional defect and because it is a novel legal claim.

       II.     SECTION 2255 STANDARD OF REVIEW

       A federal prisoner claiming that his “sentence was imposed in violation of the

Constitution or the laws of the United States, or that the court was without jurisdiction to

impose such sentence, or that the sentence was in excess of the maximum authorized by

law, or is otherwise subject to collateral attack, may move the court which imposed the

sentence to vacate, set aside or correct the sentence.” 28 U.S.C. § 2255(a). Rule 4(b) of the

Rules Governing Section 2255 Proceedings provides that courts are to promptly examine

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motions to vacate, along with “any attached exhibits and the record of prior proceedings. .

.” in order to determine whether the petitioner is entitled to any relief on the claims set

forth therein. After examining the record in this matter, the Court finds that the arguments

presented by Petitioner can be resolved without an evidentiary hearing based on the record

and governing case law. See Raines v. United States, 423 F.2d 526, 529 (4th Cir. 1970).

       III.    DISCUSSION

(1)    Involuntary Plea Claim

       First, Petitioner contends that his guilty plea was not knowingly and voluntarily

entered.

       “[A] guilty plea constitutes a waiver of all non-jurisdictional defects, including the

right to contest the factual merits of the charges.” United States v. Willis, 992 F.2d 489,

490 (4th Cir. 1993). Thus, after a guilty plea, a defendant may not “raise independent claims

relating to the deprivation of constitutional rights that occurred prior to the entry of the

guilty plea.” Blackledge v. Perry, 417 U.S. 21, 29-30 (1974). Rather, he is limited “to

attacks on the voluntary and intelligent nature of the guilty plea, through proof that the

advice received from counsel was not within the range of competence demanded of

attorneys in criminal cases.” Id.

       Before accepting a guilty plea, a district court must conduct a plea colloquy in

which it informs the defendant of, and determines if the defendant comprehends, the nature

of the charge to which he is pleading guilty, the maximum possible penalty he faces, any

mandatory minimum penalty, and the rights he is relinquishing by pleading guilty. Fed. R.

Crim. P. 11(b)(1); United States v. DeFusco, 949 F.2d 114, 116 (4th Cir. 1991). A court

must also ensure that the plea is supported by an independent factual basis and is not the

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result of force, threats, or promises outside the plea agreement. Fed. R. Crim. P. 11(b)(2),

(3).

        Here, the Court complied with Rule 11 by confirming that Petitioner understood

the charges, his sentencing exposure including the possibility of ACCA sentencing, and

the rights he was relinquishing by pleading guilty. Petitioner stated that he understood and

specifically agreed to waive his appellate and collateral rights except for claims of

prosecutorial misconduct and ineffective assistance of counsel. The plea was supported by

a written Factual Basis that Petitioner read and understood. He pled guilty without any

promises, threats, or coercion. Petitioner further stated that he was satisfied with his

lawyer’s services. Petitioner’s present self-serving allegations that his plea was not

knowingly and voluntarily entered are conclusively refuted by the record, including his

own sworn statements, and are rejected. Blackledge v. Allison, 431 U.S. 63, 74 (1977)

(“Solemn declarations in open court carry a strong presumption of verity. The subsequent

presentation of conclusory allegations unsupported by specifics is subject to summary

dismissal, as are contentions that in the face of the record are wholly incredible.”); see,

e.g., United States v. Lemaster, 403 F.3d 216, 221–22 (4th Cir. 2005). Petitioner’s freely

and voluntarily entered guilty plea thus waived all non-jurisdictional defects.

(2)     Sentencing Claims

        Petitioner contends that his prior convictions are not ACCA predicates so his

sentence exceeds the statutory maximum and that the enhancement pursuant to §

2K2.1(b)(6)(B) does not apply to his case.

        It is well settled that a criminal defendant cannot “circumvent a proper ruling ... on

direct appeal by re-raising the same challenge in a § 2255 motion.” United States v. Dyess,

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730 F.3d 354, 360 (4th Cir. 2013) (quoting United States v. Linder, 552 F.3d 391, 396 (4th

Cir. 2009)); see also United States v. Roane, 378 F.3d 382, 396 n. 7 (4th Cir. 2004) (noting

that, absent “any change in the law,” defendants “cannot relitigate” previously decided

issues in a § 2255 motion); Boeckenhaupt v. United States, 537 F.2d 1182, 1183 (4th

Cir.1976) (holding criminal defendant cannot “recast, under the guise of collateral attack,

questions fully considered by this court [on direct appeal]”).

       Petitioner argued on direct appeal that ACCA is unconstitutional and that he does

not qualify for ACCA sentencing. The Fourth Circuit already held on direct appeal that

Petitioner waived his ability to raise the ACCA sentencing challenge in his knowing and

voluntary plea waiver. This Court will not relitigate the matter. See, e.g., Hitt v. United

States, 2017 WL 424888 at *3 (W.D.N.C. Jan. 30, 2017) (§ 2255 petitioner cannot relitigate

a claim that was dismissed as barred on direct appeal).

       Further, Petitioner’s ACCA argument is meritless. The PSR states that Petitioner

qualifies as an armed career criminal pursuant to North Carolina breaking and entering

convictions in case numbers 07CRS201777, 07CRS08584, 08CRS53547, 08CRS53598,

and 08CRS253352. The Government has submitted Petitioner’s felony Judgment and

Commitment forms in cases 08CRS053547, 08CRS053598, and 08CRS253352. Petitioner

was convicted in each of these cases of violating North Carolina General Statutes § 14-

54(a). (Doc. No. 7-1 at 1-8). He was sentenced in a consolidated Judgment in case numbers

08CRS053547 and 08CRS053598 to 12-15 months’ imprisonment, and in case number

08CRS253352 to 37-54 months’ imprisonment. (Id.). The Fourth Circuit has held that

convictions under § 14-54(a) are violent felonies under ACCA. United States v. Mungro,

754 F.3d 267, 272 (4th Cir. 2014). Although the convictions in case numbers 08CRS053547

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and 08CRS053598 are included in a consolidated judgment, the offenses are counted

separately because they occurred on different occasions. See (3:14-cr-254, Doc. No. 33 at

¶¶ 54, 55) (case number 08CRS053547 is a breaking and entering of Fort Dobbs Hardware

on July 27, 2006 where currency and property valued at $1,900 was taken; 08CRS053598

is a breaking and entering of drug stores on July 27, 2006 during which prescription pill

bottles and currency were taken); see, e.g., United States v. Linney, 819 F.3d 747 (4th Cir.

2016) (burglaries of two residences that were only 30 feet apart on the same date occurred

on different occasions for purposes of § 924(e)(1) because, inter alia, they were at two

distinct street addresses and the homeowners were separately victimized by the two

burglaries); United States v. Carr, 592 F.3d 636 (4th Cir. 2010) (13 break-ins of storage

units located at a single address occurred on different occasions for purposes of ACCA

because, although they shared the same nature and criminal objective, they occurred at

different locations, had different victims, and the space between each storage unit gave the

defendant an opportunity to decide whether to engage in the subsequent break-in).

Petitioner therefore qualifies for ACCA sentencing and this claim fails on the merits. Thus,

Petitioner’s claim that his sentence exceeds the statutory maximum because he does not

qualify as an armed career criminal likewise fails.

       Petitioner’s claim that he does not qualify for the § 2K2.1(b)(6)(B) enhancement is

waived, non-cognizable, and meritless. This is a claim of a guideline calculation error that

was waived by Petitioner’s knowing and voluntary guilty plea and is a non-constitutional

claim that is not cognizable on collateral review. Moreover, the § 2K2.1(b)(6)(B)

enhancement is irrelevant because Petitioner was properly sentenced as an armed career

criminal, and therefore, even if there was a calculation error it had no impact on Petitioner’s

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sentence.

(3)      Section 922(g) Convictions

         Petitioner contends that he is actually innocent of violating § 922(g) because the

Indictment does not allege, the Government failed to proffer any evidence, and the Rule 11

hearing omits to mention, that Petitioner knew his status as a convicted felon pursuant to

Rehaif v. United States, 139 S.Ct. 2191 (2019). The Government argues that this claim is

procedurally defaulted from collateral review and Petitioner has not shown cause and

prejudice or actual innocence to avoid the procedural default, and that this claim lacks

merit.

         A person who “knowingly violates” certain subsections of § 922, including §

922(g), “shall be” subject to penalties of up to 10 years’ imprisonment. 18 U.S.C. §

924(a)(2). The text of § 922(g) in turn provides that it “shall be unlawful for any person ...,

being an alien ... illegally or unlawfully in the United States,” to “possess in or affecting

commerce, any firearm or ammunition.” The United States Supreme Court recently held

in Rehaif that, in a prosecution under §§ 922(g) and 924(a)(2), the Government must prove

“both that the defendant knew he possessed a firearm and that he knew he belonged to the

relevant category of persons barred from possessing a firearm” 139 S.Ct. at 2200.

         In a direct appeal case, United States v. Lockhart, 947 F.3d 187, 196–97 (4th Cir.

2020), the Fourth Circuit recently found that the district court committed plain error in

accepting the defendant’s guilty plea to a § 922(g) offense without informing him of his

ACCA sentencing exposure and based on the pre-Rehaif understanding of the law because,

in the aggregate, the ACCA and Rehaif errors were sufficient to undermine the court’s

confidence in the outcome of the proceeding. The Fourth Circuit did not, however, decide

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whether a stand-alone Rehaif error requires automatic vacatur of a defendant’s plea, or

whether such error should be reviewed for prejudice.

       “Habeas review is an extraordinary remedy and will not be allowed to do service

for an appeal.” Bousley v. United States, 523 U.S. 614, 621 (1998) (internal citations

omitted); United States v. Sanders, 247 F.3d 139, 144 (4th Cir. 2001). In order to collaterally

attack a conviction or sentence based upon errors that could have been but were not pursued

on direct appeal, a petitioner must show cause and actual prejudice resulting from the errors

of which he complains or he must demonstrate that a miscarriage of justice would result

from the refusal of the court to entertain the collateral attack. See United States v. Frady,

456 U.S. 152, 167-68 (1982); United States v. Mikalajunas, 186 F.3d 490, 492–93 (4th Cir.

1999); United States v. Maybeck, 23 F.3d 888, 891-92 (4th Cir. 1994). Actual prejudice is

then shown by demonstrating that the error worked to petitioner’s “actual and substantial

disadvantage,” rather than just creating a possibility of prejudice. See Satcher v. Pruett,

126 F.3d 561, 572 (4th Cir. 1997) (quoting Murray v. Carrier, 477 U.S. 478, 494 (1986)).

To establish cause based upon ineffective assistance of counsel, a petitioner must show that

the attorney’s performance fell below an objective standard of reasonableness and that he

suffered prejudice as a result. See Murray, 477 U.S. at 488; Strickland v. Washington, 466

U.S. 668, 687 (1984). Cause for procedural default exists where “a constitutional claim

[was] so novel that its legal basis [was] not reasonably available to counsel,” i.e., (1) when

a Supreme Court decision explicitly overrules one of its precedents, (2) when a Supreme

Court decision overturns a longstanding and widespread practice to which the Supreme

Court has not spoken but which a near-unanimous body of lower court authority has

expressly approved, and (3) when a decision disapproves a practice the Supreme Court has

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arguably sanctioned in prior cases. Reed v. Ross, 468 U.S. 1, 16 (1984). When a case in

one of the first two categories is given retroactive application, there is almost certainly no

reasonable basis upon which an attorney previously could have urged the position that the

Supreme Court ultimately adopted. Id. at 17.

       Under the limited “actual innocence” exception, “in an extraordinary case, where a

constitutional violation has probably resulted in the conviction of one who is actually

innocent, a federal habeas court may grant the writ [of habeas corpus] even in the absence

of a showing of cause for the procedural default.” Murray, 477 U.S. at 496. “In other words,

a credible showing of actual innocence may allow a prisoner to pursue his constitutional

claims … on the merits notwithstanding the existence of a procedural bar to relief.”

McQuiggin v. Perkins, 569 U.S. 383, 393 (2013). This fundamental miscarriage of justice

exception is grounded on the “equitable discretion” of habeas courts to see that “federal

constitutional errors do not result in the incarceration of innocent persons.” Herrera v.

Collins, 506 U.S. 390, 404 (1993). To make such a showing, a petitioner must demonstrate

that “it is more likely than not that no reasonable juror would have convicted him in light

of the new evidence.” Schlup v. Delo, 513 U.S. 298, 324 (1995).

       Petitioner did not raise his Rehaif claim on direct appeal. He argues that his claim

is novel and that he is actually innocent of violating § 922(g) in an effort to avoid the

procedural default of this claim. First, Petitioner’s claim of novelty does not demonstrate

cause. It is not enough that “a claim was unacceptable to that particular court at that

particular time.” Engle v. Isaac, 456 U.S. 107, 130 (1982). The issue decided in Rehaif

“was percolating in the courts for years….” United States v. Bryant, 2020 WL 353424

(E.D.N.Y. Jan. 21, 2020) (citing United States v. Reap, 391 Fed. Appx. 99, 103-04 (2d Cir.

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2010) (in challenging the validity of a plea, rejecting while affording plenary treatment to

a defendant’s claim that he did not know his 922(g) felon status, including his assertion

that “Supreme Court jurisprudence in analogous cases” required proof of such knowledge);

United States v. Kind, 194 F.3d 900, 907 (8th Cir. 1999) (rejecting defendant’s argument

that “district court erred in not instructing the jury that a defendant must know his status as

a convicted felon to violate § 922(g)(1)”); see also Rehaif, 139 S.Ct. at 2199 (observing

that, even “[p]rior to 1986 … there was no definitive judicial consensus that knowledge of

status was not needed”).

       Even if the Rehaif claim is considered novel, however, Petitioner cannot establish

prejudice or actual innocence because there was sufficient evidence in the record to

establish that he knew his status as a felon. The PSR’s criminal history section sets forth

multiple felony convictions for which Petitioner served 12 months or more in prison: 16 to

20 months (06CRS202132, 06CRS202133, 06CRS202134, 06CRS202135); 12 to 15

months (08CRS53547-1, 08CRS53547-2); and 37 to 54 months (08CRS249729 and

08CRS253352) (3:14-cr-254, Doc. No. 33 at ¶¶ 48, 54, 57). Petitioner admitted that he was

charged with “having been previously convicted of at least one crime punishable by

imprisonment for a term exceeding one year, [and] did knowingly and unlawfully possess

firearms… in and affecting commerce” in violation of 18 U.S.C. §§ 922(g)(1) and admitted

his guilt of that offense. (3:14-cr-254, Doc. No. 15); (Id., Doc. No. 21). His factual guilt is

supported by the PSR and Petitioner has not come forward with any evidence to undermine

the Court’s confidence that he is factually guilty of that offense.

       While the defendant in Rehaif reasonably could have been confused about his

immigration status, Petitioner could make no such argument about the status of his prior

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felony convictions for which he served several years in prison. See Bryant, 2020 WL

353424 at *4 (no showing of prejudice or miscarriage of justice where defendant pled

guilty to violating § 922(g) prior to Rehaif and there was sufficient evidence in the record

to establish knowledge of his status, “namely, the fact that he was sentenced on his state

felony conviction to five years’ incarceration and actually served more than three years of

that term” pursuant to the PSR); Floyd v. United States, 2020 WL 374695 (N.D. Ill. Jan.

23, 2020) (it was “inconceivable” that petitioner was unaware at the time he possessed the

firearm that he was a felon because he was sentenced to four years in prison and admitted

at the Rule 11 hearing that he was a convicted felon).

       Therefore, Petitioner’s Rehaif claim is procedurally defaulted from § 2255 review,

no exception applies, and this claim is therefore dismissed.

(4)    Ineffective Assistance of Counsel

       Petitioner contends that counsel was ineffective for inducing him to plead guilty,

inadequately representing him with regards to sentencing, and failing to file an appeal after

Petitioner requested that he do so.

       First, Petitioner contends that ineffective assistance of counsel rendered his guilty

plea involuntary because counsel failed to inform him that he could plead guilty without a

plea agreement and its attendant appellate waiver, misadvised him that knowledge of felon

status is not an element of § 922(g) contrary to Rehaif, misadvised him that he would not

be sentenced as an armed career criminal, and erroneously informed him that he could

appeal the sentence.

       The Sixth Amendment right to the assistance of counsel during criminal

proceedings extends to the plea-bargaining process. See Missouri v. Frye, 566 U.S. 134

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(2012). Thus, criminal defendants are “entitled to the effective assistance of competent

counsel” during that process. Lafler v. Cooper, 566 U.S. 156, 162 (2012) (internal

quotation marks omitted); Merzbacher v. Shearin, 706 F.3d 356, 363 (4th Cir. 2013). Where

a defendant enters his plea upon the advice of counsel, the voluntariness of the plea depends

on whether counsel’s advice was “within the range of competence demanded by attorneys

in criminal cases.” Hill v. Lockhart, 474 U.S. 52, 56 (1985) (quoting McMann v.

Richardson, 397 U.S. 759, 771 (1970)). To satisfy Strickland’s prejudice prong, the

defendant must show there is a reasonable probability that, but for counsel’s unprofessional

errors, the outcome of the proceeding would have been different. See, e.g., Lafler, 566 U.S.

at 156 (in the context of a rejected or lapsed plea offer, the defendant must show a

reasonable probability that he would have accepted the plea, that the government would

not have withdrawn it, that the court would have accepted its terms, and that the conviction

and/or sentence under the plea offer would have been less severe than under the judgment

and sentence that were actually imposed); Hill, 474 U.S. at 59 (in the context of an

involuntary plea, the defendant has to demonstrate “there is a reasonable probability that,

but for counsel’s errors, he would not have pleaded guilty and would have insisted on going

to trial.”).

         Petitioner contends that counsel was ineffective for failing to inform him that he

could plead guilty “straight up” to the Indictment which would have preserved his right to

appeal the sentence. Petitioner claims that he would have pled guilty without a plea

agreement had he known that he could retain his appellate rights by doing so. (Doc. No. 3

at 6). This claim fails because Petitioner has not demonstrated a reasonable probability that

counsel’s allegedly deficient performance changed the outcome of the proceedings.

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Petitioner pled guilty to three counts of violating § 922(g) in exchange for the

Government’s dismissal of three additional § 922(g) counts. Petitioner cannot demonstrate

that a straight-up plea would have resulted in a less severe judgment or sentence. Six §

922(g) counts are more serious than the three and Petitioner has not demonstrated that a

straight-up plea had a reasonable probability of resulting in a lower sentence in light of the

Plea Agreement’s substantial assistance provision that resulted in a downward departure

motion that lowered Petitioner’s offense level from 31 to 27 and reduced his sentence by

approximately 31%. Petitioner thus has not demonstrated a reasonable probability that

Petitioner would have entered a straight-up plea or that he would have received a less

severe judgment or sentence, but for counsel’s alleged misadvice.

       With regards to the Rehaif claim, Petitioner’s contention that counsel misadvised

him about the elements of the § 922(g) offense does not warrant relief. Assuming arguendo

that counsel misadvised Petitioner about the elements of a § 922(g) offense, Petitioner has

failed to demonstrate prejudice. Petitioner would have to show a reasonable probability

that, had he known of § 922(g)’s knowledge requirement about his status as a felon, he

would not have pled guilty to the § 922(g) offenses. This premise is implausible. Petitioner

admitted in pleading guilty that he was previously convicted of a crime punishable by

imprisonment for a term exceeding one year. (3:14-cr-254, Doc. No. 22 at 2). The PSR

reveals that he was previously convicted of felonies on multiple occasions and that he spent

several years in prison for those offenses. (Id., Doc. No. 33). His present self-serving

contention that he would not have entered into an extremely favorable plea agreement had

he known about his prior felony convictions, is rejected. See, e.g., Floyd, 2020 WL 374695

(petitioner did not argue, nor could he argue, that he did not know that he had been

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convicted of a felony when he possessed the firearms because the plea agreement stated

that he was previously convicted of a crime for which he was sentenced to four years in

prison and he admitted in his plea hearing that he had been convicted of at least one crime

punishable by imprisonment for a term exceeding one year).

       Petitioner’s contention that counsel induced his guilty plea by advising him that,

under Johnson v. United States, 135 S.Ct. 2551 (2015), he would not be sentenced as an

armed career criminal is conclusively refuted by the record. Petitioner acknowledged his

understanding in the written Plea Agreement and at the Rule 11 hearing that he could be

sentenced as an armed career criminal to a minimum mandatory of 15 years’ imprisonment

up to life. (3:14-cr-254, Doc. No. 49 at 6); (Id., Doc. No. 21 at 2). Any misapprehension

that Petitioner might have had about his sentencing exposure was thus cured and his plea

was entered with knowledge of his ACCA sentencing exposure. United States v. Akinsade,

686 F.3d 248, 253 (4th Cir. 2012) (a defendant is unable to show prejudice if counsel’s

misadvice is corrected by the court at a Rule 11 proceeding). His present self-serving

contention to the contrary is rejected. See Blackledge, 431 U.S. at 74; Lemaster, 403 F.3d

at 221–22.

       Petitioner’s contention that counsel misadvised him that he could appeal his

sentence despite his plea waiver is likewise conclusively refuted by the record. Petitioner

acknowledged in the written Plea Agreement and in the Rule 11 hearing that he was

specifically waiving his right to appeal his sentence except for claims except for ineffective

assistance of counsel and prosecutorial misconduct. (Id., Doc. No. 21 at 5); (Id., Doc. No.

49 at 14). Petitioner’s contention that counsel misadvised him that he could appeal his

sentence despite the waiver is thus conclusively refuted by the record and will be rejected.

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See Blackledge, 431 U.S. at 74; Lemaster, 403 F.3d at 221–22. The Fourth Circuit found

on direct appeal that Petitioner’s plea waiver was knowingly and voluntarily entered and

enforced the waiver of his sentencing claims on direct appeal. See United States v. Wilson,

734 Fed. Appx. 182 (4th Cir. 2018) (finding that Petitioner knowingly and voluntarily

waived his right to appeal).

        Second, Petitioner contends that counsel inadequately represented him with regards

to sentencing. The Court has already concluded that no sentencing error occurred. See

Section (2), supra. Therefore, Petitioner has failed to demonstrate either deficient

performance or prejudice. See generally Knowles v. Mirzayance, 556 U.S. 111, 123 (2009)

(“this Court has never required defense counsel to pursue every claim or defense,

regardless of its merit, viability, or realistic chance for success.”).

        Third, Petitioner contends that counsel failed to file an appeal after Petitioner

requested that he do so. The record reflects that no notice of appeal was filed by counsel.

However, Petitioner’s pro se Letter to the Fourth Circuit inquiring about the status of his

appeal was docketed as a pro se Notice of Appeal. Counsel was subsequently appointed to

assist Petitioner and the appeal was not time-barred. Accordingly, assuming that Petitioner

asked counsel to appeal and that counsel failed to do so, Petitioner was not deprived of a

direct appeal. Therefore, this claim will be denied.

        IV. CONCLUSION

        For the foregoing reasons, the § 2255 Motion to Vacate is dismissed and denied

and the other pending Motions are granted.

        IT IS, THEREFORE, ORDERED that:

        1.      Petitioner’s Motion to Vacate, Set Aside or Correct Sentence under 28

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        U.S.C. § 2255, (Doc. No. 1), is DISMISSED with prejudice and DENIED.

 2.     Petitioner’s Motion to Amend, (Doc. No. 3), Motion for Leave to File, (Doc.

        No. 4), and Motion to File a Corrected Reply, (Doc. No. 9), are

        GRANTED.

 3.     The Government’s Motion to File a Corrected Response, (Doc. No. 6), is

        GRANTED.

 4.     IT IS FURTHER ORDERED that pursuant to Rule 11(a) of the Rules

        Governing Section 2254 and Section 2255 Cases, this Court declines to

        issue a certificate of appealability. See 28 U.S.C. § 2253(c)(2); Miller-El v.

        Cockrell, 537 U.S. 322, 338 (2003) (in order to satisfy § 2253(c), a

        petitioner must demonstrate that reasonable jurists would find the district

        court’s assessment of the constitutional claims debatable or wrong); Slack

        v. McDaniel, 529 U.S. 473, 484 (2000) (when relief is denied on procedural

        grounds, a petitioner must establish both that the dispositive procedural

        ruling is debatable and that the petition states a debatable claim of the denial

        of a constitutional right).

 Signed: February 21, 2020




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